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Jacob A. Sommer
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                                                        October 21, 2019


Via Electronic Delivery using the CM/ECF system
The Honorable George A. O’Toole, Jr.
United States District Court
  for the District of Massachusetts
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, MA 02210
(617) 748-9152

       Re:      In re Daily Fantasy Sports Litigation, No. 1:16-md-02677-GAO


Dear Judge O’Toole:

        We write to inform the Court that, on October 11, 2019, the Keller Lenkner law firm filed
with the American Arbitration Association 1,000 mass arbitrations against FanDuel and another
1,000 against DraftKings. As Defendants explained in their letters of April 25, 2019 (ECF No.
394) and June 11, 2019 (ECF No. 395) and at the August 28, 2019 conference, these mass
arbitrations pose the risk of inconsistent rulings while this MDL remains before the Court
pending resolution of Defendants’ motion to compel arbitration.

       Defendants will await the Court’s ruling on the Motion to Compel and continue to
provide updates to the Court as appropriate.

                                            Respectfully submitted,


                                            /s/ Jacob. A. Sommer
                                            Jacob A. Sommer
                                            ZwillGen PLLC
                                            Counsel for FanDuel, Inc
       .
                                            /s/ Damien Marshall
                                            Damien Marshall
                                            Boies Schiller Flexner LLP
                                            Counsel for DraftKings, Inc.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of October, 2019 the foregoing document was

electronically filed with the Clerk of the Court using the CM/ECF system and will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),

under Local Rule 5.4(C).


October 21, 2019                                              /s/ Jacob Sommer
                                                                  Jacob Sommer
